        Case 1:21-cv-00840-RP Document 14 Filed 10/07/21 Page 1 of 4




              IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TEXAS
                         AUSTIN DIVISION

NETCHOICE, LLC d/b/a            §
Netchoice, a 501(c)(6) District of
                                §
Columbia organization,          §
                                §
                 and            §
                                §
COMPUTER &                      §
COMMUNICATIONS INDUSTRY §
ASSOCIATION d/b/a CCIA, a       §
501(c)(6) non-stock Virginia    §
corporation,                    §        Civil Action No. 1:21-cv-00840-RP
                                §
   Plaintiffs,                  §
                                §
   v.                           §
                                §
KEN PAXTON, in his official     §
capacity as Attorney General of §
Texas,                          §
                                §
   Defendant.                   §



MOTION OF PROPOSED AMICI THE REPORTERS COMMITTEE FOR
 FREEDOM OF THE PRESS, AMERICAN CIVIL LIBERTIES UNION,
  AMERICAN CIVIL LIBERTIES UNION OF TEXAS, CENTER FOR
  DEMOCRACY & TECHNOLOGY, AND MEDIA LAW RESOURCE
CENTER FOR LEAVE TO FILE BRIEF IN SUPPORT OF PLAINTIFFS’
         MOTION FOR PRELIMINARY INJUNCTION


     Proposed amici the Reporters Committee for Freedom of the Press, the

American Civil Liberties Union, the American Civil Liberties Union of Texas,



                                     1
          Case 1:21-cv-00840-RP Document 14 Filed 10/07/21 Page 2 of 4




Center for Democracy & Technology, and Media Law Resource Center respectfully

move this Court for leave to file the accompanying brief in support of NetChoice

and the Computer & Communications Industry Association’s (CCIA) motion for a

preliminary injunction against Ken Paxton in his official capacity as Texas Attorney

General, charged with enforcing H.B. 20. Plaintiffs NetChoice and CCIA have

represented that they do not oppose the filing of this brief. Defendant opposes this

motion.

      The accompanying brief seeks to aid the Court by highlighting the

ramifications of H.B. 20 for the press and the public and to explain why this Court

should enjoin enforcement of H.B. 20 to ensure it does not improperly interfere with

constitutionally protected editorial choices and decision making. As representatives

of and advocates for the news media, amici have a strong interest in protecting the

freedom of the press guaranteed by the First Amendment and are concerned that, if

allowed to go into effect, H.B. 20 will chill the exercise of editorial discretion,

thereby restricting the free flow of information to the public.

      Accordingly, amici respectfully request that the Court exercise its discretion

to accept the accompanying brief for consideration. See, e.g., U.S. ex rel. Gudur v.

Deloitte Consulting LLP, 512 F. Supp. 2d 920, 927 (S.D. Tex. 2007) (“The extent to

which the court permits or denies amicus briefing lies solely within the court’s

discretion.”).



                                          2
  Case 1:21-cv-00840-RP Document 14 Filed 10/07/21 Page 3 of 4




Dated: October 7, 2021


                                   Respectfully submitted,

                                   HAYNES AND BOONE, LLP

                                   By: /s/Laura Lee Prather
                                   Laura Lee Prather
                                   State Bar No. 16234200
                                   Laura.Prather@haynesboone.com
                                   Catherine Lewis Robb
                                   State Bar No. 24007924
                                   Catherine.Robb@haynesboone.com

                                   600 Congress Avenue, Suite 1300
                                   Austin, Texas 78701
                                   Telephone: (512) 867-8400
                                   Telecopier: (512) 867-8470

                                   Counsel of Record for Amici Curiae




                               3
        Case 1:21-cv-00840-RP Document 14 Filed 10/07/21 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was served in compliance

with the Federal Rules of Civil Procedure via ECF filing on this 7th day of October

2021 to the following:

 Gabriela Gonzalez-Araiza
 Jeremy Evan Maltz
 Jonathan D. Urick
 Steven P. Lehotsky
 Lebotsky Keller LLP
 200 Massachusetts Avenue NW
 Washington, DC 20001
 slehotsky@uschamber.com

 Scott A. Keller
 Matthew Hamilton Frederick
 Todd Lawrence Disher
 Lehotsky Keller LLP
 919 Congress Ave., Ste. 1100
 Austin, TX 78701
 scott@lehotskykeller.com
 matt@lehotskykeller.com
 todd@lehotskykeller.com

  Attorneys for Plaintiff




                                       /s/Laura Lee Prather
                                       Laura Lee Prather




                                          4
